                Case 2:13-cr-00247-TLN Document 28 Filed 12/09/13 Page 1 of 3


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 4
     Attorney for Defendant
 5
     ANGEL MARTINEZ-DIAZ
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-13-247 JAM
 9
                                                    )
                                                    )
10           Plaintiff,                             )       STIPULATION REGARDING
                                                    )       EXCLUDABLE TIME PERIODS
11
     v.                                             )       UNDER SPEEDY TRIAL ACT;
                                                    )       FINDINGS AND ORDER
12
     ANGEL MARTINEZ-CHAIREZ,                        )
                                                    )
13
                                                    )       Date: January 21, 2014
             Defendant.                             )       Time: 9:45 a.m.
14
                                                    )       Judge: Honorable John A. Mendez
                                                    )
15
                                                    )
16

17
             The United States of America through its undersigned counsel, Richard J. Bender,
18

19   Assistant United States Attorney, together with counsel for defendant Angel Martinez-Diaz, John

20   R. Manning, Esq., hereby stipulate the following:
21
          1. By previous order, this matter was set for status conference on December 10, 2013.
22
     Additionally, by previous order, the following motion schedule was agreed upon: defense
23

24
     motions due 11/26/13; oppositions due 12/10/13; replies due 12/17; and, a hearing on the

25   motions is scheduled for 1/7/14. No motions were filed by any defendants.
26
          2. By this stipulation, defendant now moves to continue the status conference until January
27
     21, 2014 at 9:45 a.m., and to exclude time between December 10, 2013 and January 21, 2014
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     under the Local Code T-4 (to allow defense counsel time to prepare).

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             Case 2:13-cr-00247-TLN Document 28 Filed 12/09/13 Page 2 of 3


     3. The parties agree and stipulate, and request the Court find the following:
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 2      a.    This case currently contains over a 100 pages of discovery as well as two DVD's

 3           with videos and one CD of audio recordings (the recordings are in Spanish).
 4
        b. Counsel for the defendants need additional time to review the discovery, conduct
 5
             investigation, and interview potential witnesses.
 6

 7
        c. Mr. Martinez-Diaz is from Honduras. During the course of meeting with Mr.

 8           Martinez-Diaz, it became apparent issues surrounding his immigration status were
 9           quite complicated. As such, on November 13, 2013, I applied to the court for funding
10
             for the appointment of the UC Davis Immigration Law Clinic ("the Clinic") to review
11
             and analyze Mr. Martinez-Diaz's circumstances. On December 3, 2014, I was
12

13           notified the funding request had been granted. The defense needs additional time to

14           allow "the Clinic" to review and analyze Mr. Martinez-Diaz's immigration
15
             circumstances. Such a review is necessary in order to adequately advise Mr.
16
             Martinez-Diaz of the potential immigration consequences he faces with a guilty plea
17
             (or verdict).
18

19      d. Counsel for defendants believe the failure to grant a continuance in this case would

20           deny defense counsel reasonable time necessary for effective preparation, taking into
21
             account the exercise of due diligence.
22
        e. The Government does not object to the continuance.
23
        f. Based on the above-stated findings, the ends of justice served by granting the
24

25           requested continuance outweigh the best interests of the public and the defendants in

26           a speedy trial within the original date prescribed by the Speedy Trial Act.
27
        g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
28
             Section 3161(h)(7)(A) within which trial must commence, the time period of

                                                  2
               Case 2:13-cr-00247-TLN Document 28 Filed 12/09/13 Page 3 of 3


                December 10, 2013 to January 21, 2014 is deemed excludable pursuant to 18 United
 1

 2              States Code Section 3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local Code

 3              T-4 because it results from a continuance granted by the Court at defendant’s request
 4
                on the basis of the Court’s finding that the ends of justice served by taking such
 5
                action outweigh the best interests of the public and the defendants in a speedy trial.
 6

 7
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the

 8   Speedy Trial Act dictate that additional time periods are excludable from the period within which
 9   a trial must commence.
10
        IT IS SO STIPULATED.
11
     Dated: December 6, 2013                                      /s/ John R. Manning             _
12
                                                                  JOHN R. MANNING
13                                                                Attorney for Defendant
                                                                  Angel Martinez-Diaz
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15
     Dated: December 6, 2013                                      Benjamin B. Wagner
16                                                                United States Attorney

17                                                        by:     /s/ Richard J. Bender
                                                                  RICHARD J. BENDER
18
                                                                  Assistant U.S. Attorney
19

20                                                ORDER
21

22
            IT IS SO FOUND AND ORDERED this 6th day of December, 2013.

23
                                                          /s/ John A. Mendez______________
24                                                        HONORABLE JOHN A. MENDEZ
                                                          U. S. DISTRICT COURT JUDGE
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